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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO
                                   Magistrate Judge Michael E. Hegarty

   Civil Action No:          19-cv-03496-RMR-MEH                                  Date: September 8, 2021
   Courtroom Deputy:         Emily Buchanan                                       FTR: Courtroom A 501

    Parties:                                                     Counsel:

    EMAIL ON ACID, LLC,                                          Zachary Garthe

         Plaintiff,

    v.

    250OK, INC., and                                             Matthew McLaughlin (by telephone)
    VALIDITY, INC.,

         Defendants.

                                         COURTROOM MINUTES
                                        DISCOVERY CONFERENCE

   Court in session:         3:15 p.m.

   Court calls case. Appearances of counsel.

   Plaintiff raises concerns about Defendants’ pace of discovery production. Plaintiff seeks
   deadlines in order to meet its December 10, 2021 discovery cut-off.

   Arguments by counsel.

   ORDERED: Defendants shall produce technical documents on or before September 22, 2021.
            Counsel shall confer regarding the sales, marketing, and financial valuation
            documents out of Validity on or before September 15, 2021.

   Court in recess:          3:35 p.m.        Hearing concluded.
   Total in-court time:      00:20
   *To obtain a transcript of this proceeding, please contact Patterson Transcription Company at (303) 755-4536 or AB
   Litigation Services at (303) 629-8534.
